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STATE OF SOUTH CAROLINA                        )     IN THE COURT OF COMMON ,PLEAS                 z
                                               )       TWELFTH JUDICIAL CIRCUIT                    5
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COUNTY OF FLORENCE                             )        CASE NO. 21-CP-21-                         r
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Annette Poston,                                )                                                    F
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                                               )                                                    o
                     Plaintiff,                )                                                    iv
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                                                                                                    ry
                                                                                                    —
                                               )
                     v.                        )                    SUMMONS                         >
                                                                                                    c
                                                                                                   cc
                                               )                                                    N;
                                                                                                    .4.
Wal-Mart, Inc. and                             )                                                    co
Wal-Mart Stores East, L.P.,                    )                                                    6
                                                                                                   (.11
                                               )                                                    >
                                                                                                    K
                      Defendants.              )

TO EACH DEFENDANT ABOVE NAMED:

        YOU    ARE    HEREBY       SUMMONED          and      required      to    answer     the

Complaint      in    this   action,        a   copy of        which    is   herewith     served    0
                                                                                                   E
upon    you, and to serve a copy of your Answer to said Complaint                                  0


on     the    subscriber      at     205       N.    Irby        Street,    Florence,      South

Carolina,      within       thirty     (30)         days     from    the    service     hereof,

exclusive of the date of such service; and if you fail to answer                                   4*
                                                                                                   0
the    Complaint      within    the     time         aforesaid,       judgment     by   default    8
will     be   rendered      against     you         for    the    relief    demanded    in   the   8
                                                                                                   8
Complaint.

                                               BARTH, BALLENGER & LEWIS, LLP


                                     B y:      s/Brendan P. Barth
                                               BRENDAN P. BARTH
                                               ATTORNEY FOR PLAINTIFF
                                               POST OFFICE BOX 107
                                               FLORENCE, SOUTH CAROLINA 29503
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Florence, South Carolina
August 24, 2021
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STATE OF SOUTH CAROLINA                     )     IN THE COURT OF COMMON PLEAS
                                            )       TWELFTH JUDICIAL CIRCUIT
COUNTY OF FLORENCE                          )        CASE NO. 21-CP-21-

Annette Poston,                             )
                                            )
                     Plaintiff,             )
                                            )
                     v.                     )                COMPLAINT
                                            )          (JURY TRIAL DEMANDED)
Wal-Mart, Inc. and Wal-Mart                 )
Stores East, L.P.,                          )
                                            )
                     Defendants.            )
                                            )


       The Plaintiff, complaining of the Defendants herein, would

respectfully      allege        and    -show    unto     this     Honorable       Court      as

follows:

                                  .    THE PARTIES

       1.    That the       Plaintiff is a          citizen and          resident of the

County of Florence, State of South Carolina.

       2.    That, upon information and belief, Defendant Wal-Mart,

Inc.   is    a   corporation          and/or      business      entity       organized    and

existing     under    the    laws      of   one    of    the    States    of    the   United

States other than the State of South Carolina, but who maintains

agents, employees, servants and business locations in the County

of   Florence,    State      of South       Carolina.           That   the    Plaintiff is

further     informed      and   believes        that    Defendant      Wal-Mart       Stores,

Inc.   derives    significant income              from    its    business      dealings      in

the County of Florence, State of South Carolina and that it is

subject to the jurisdiction of this Court.
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       3.    That, upon information and belief, Defendant Wal-Mart

Stores      East,    L.P.     is    a     corporation         and/or     business       entity

organized and existing under the laws of one of the States of

the    United States other than the State of South Carolina, but

who maintains agents, employees, servants and business locations

in the County of Florence, State of South Carolina.                                 That the

Plaintiff is further informed and believes that Defendant Wal-

Mart    Stores      East,    L.P.        derives    significant          income    from   its

business     dealings       in     the    County    of     Florence,      State    of    South

Carolina     and    that    it     is    subject     to     the   jurisdiction      of    this

Court.

       4.     That,    upon       information       and     belief,      Wal-Mart    Stores,

Inc. and Wal-Mart Stores East, L.P. (hereinafter "the Wal-Mart

Defendants")        own     and    operate,        and     maintain      control    over,    a

retail establishment in the County of Florence, State of South

Carolina doing business as Wal-Mart Superstore Number 2703.

                                 JURISDICTION AND VENUE

       5.     That, upon information and belief, venue is proper in

the County of Florence, State of South Carolina because the Wal-

Mart    Defendants        conduct        business    in     the    County    of    Florence,

State    of South Carolina              and   the events,         acts   and/or    omissions

giving rise to the Plaintiff's causes of action occurred in the

County of Florence, State of South Carolina.                           Likewise, that the

Plaintiff is informed and believes that jurisdiction is proper

in this Court.
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                                    CAUSES OF ACTION

  (Negligence; Gross Negligence; Negligence Per Se; Negligent
  Supervision, Training and/or Retention; Premises Liability)

     6.        That    the    foregoing        paragraphs        are    re-alleged     as      if

fully set forth herein verbatim.

     7.        That     heretofore        on     or     about     June     9,     2020,     the

Plaintiff      was in the         Wal-Mart       Defendants'       retail store, i.e.,

Wal-Mart Superstore Number 2703, as an invitee for lawful and

legitimate business purposes, more particularly, shopping.                                 That

as the Plaintiff was shopping, she noticed that the can of soup

that she needed was on a high shelf and was difficult for her to

reach.    At that time, an employee                    of the     Defendants       walked      by

Plaintiff, and she asked him to get a can of soup off the high

shelf.      The       employee     indicated       he    would     be    "right     back"      to

assist her, but never returned.                   After waiting for a significant

amount    of    time     for      the    employee       to    return     and    assist     her,

Plaintiff      reached       up   herself      and      grabbed    the    soup.       As    she

turned to walk away, she was suddenly and without warning struck

in the head by a can that fell from the shelf, causing a severe

laceration to Plaintiff's head.

     8.        That     while       in     the        Wal-Mart     Defendants'         retail

store/premises, the Plaintiff at all times exercised due care.

     9.        That     the       retail         establishment,          i.e.,       Wal-Mart

Superstore       Number       2703,      was     at     all    times     relevant      hereto
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controlled, supervised, maintained and operated by the Wal-Mart

Defendants.

          10.   That      at     all       times   relevant      hereto,          the    Wal-Mart

.Defendants acted by and through their agents, employees and/or

servants,         who    were    all acting        within the       course        and    scope   of

their employment and agency.

          11.   That     the     Wal-Mart      Defendants,       by    and    through         their

agents, employees and/or servants, either placed the soup cans

in    a    dangerous       position         and/or   knew,     or     in   the     exercise      of

reasonable care should have known, of the unsafe condition(s).

The unsafe conditions being the disarray of cans stacked on the

high shelf and/or the cans being placed on their side on the

high shelf and/or the placement of heavy items, i.e. the cans of'

soup, on such a high shelf.

          12.     That   Plaintiff         requested    assistance         from an employee

of the Defendants to assist her in reaching the shelf and that

said employee failed and/or refused to provide assistance to the

Plaintiff.

          13.     That   the        Wal-Mart   Defendants       either       knew       or   should

have known that the placement of the cans on the high shelf, as

set       forth    herein       above,       would   be     hazardous       to     the       store's

patrons, including the Plaintiff herein.

          14.     That the Plaintiff, through no fault of her own, was

struck      violently          in    the    head   by   a   falling        can,    causing       the

injuries outlined below.
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        15.   That     the     injuries      and     damages     suffered       by     the

Plaintiff as described herein were the direct, foreseeable, and

proximate     result       of the    negligent,      careless,    willful,      wanton,

reckless and grossly negligent acts and/or omissions of the Wal-

Mart Defendants, acting by and through their employees, agents,

or    servants,      who   breached    their    duty to     Plaintiff,     in    one    Or

more of the following particulars:

        (a) In   failing   to  have an  adequate  number  of
        employees present to properly and safely operate and
        supervise the retail store;

        (b) In failing          to   properly      supervise   and     train    its
        employees;

        (c) In failing and neglecting to maintain the aisles,
        shelving, and the surrounding areas in a condition
        that was safe for invitees, such as the Plaintiff,
        properly and lawfully within the premises;

        (d) In    permitting  and   allowing   products,  more
        particularly soup cans, to be stacked or placed on the
        shelves in disarray, rendering same dangerous and
        unsafe;

        (e) In permitting and allowing heavy products, more
        particularly soup cans, to be placed on high shelves,
        rendering same dangerous and unsafe;

        (f) In failing and neglecting to inspect and properly
        maintain products and their position on the shelves;

        (g) In failing to exercise the degree of care,
        caution and prudence which a reasonable owner, agent
        and/or employee of a business would have exercised or
        should have exercised under the same or similar
        circumstances then and there prevailing;

        (h) In failing to exercise the duty of care to
        discover dangers, risks and take safety precautions to
        warn of or eliminate unreasonable risks and/or to not
        create same;
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     (i) In failing to exercise the duty of care for the
     Plaintiff's safety and well-being, including the duty
     to warn the Plaintiff of any obvious dangers that she
     may encounter despite their obvious nature which may
     not be discovered due to distraction;

     (j) In failing to exercise the duty of care for the
     Plaintiff's safety and well-being, including the duty
     to warn the Plaintiff of any dangers of which the Wal-
     Mart Defendants had knowledge or should have had
     knowledge;

     (k) In failing to exercise the duty of care for the
     Plaintiff's safety and well-being, including a duty to
     warn  the   Plaintiff of any    obvious   dangers  that
     Plaintiff may encounter despite their obvious nature
     which the Wal-Mart Defendants should have anticipated;

     (1) In failing to remove the hazardous and dangerous
     condition from the soup can shelves and surrounding
     areas after the Wal-Mart Defendants knew or should
     have known of its presence and its dangerousness;

     (m) In allowing the Plaintiff                  to take items, more
     particularly soup cans, off of                 a shelf when it was
     unsafe to do so;

     (n) In refusing to assist the Plaintiff in safely
     removing items from the high shelf after she asked for
     such assistance; and

     (o) In such other particulars                  as discovery     and   the
     evidence at trial may show.

Any or all of which were one of the direct and proximate causes

of the injuries and damages suffered by the Plaintiff.

     16.    That   in   addition       to   the     Wal-Mart    Defendants       being

vicariously   liable      for    the    acts      and/or     omissions     of    their

employees   and    agents,      all    Defendants      are    also   independently

liable for negligent supervision, negligent hiring/training and

negligent retention of their respective employees.
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        17.   That the       Wal-Mart     Defendants'         acts and/or      omissions,

individually and through their employees and agents, did cause

significant injury to the Plaintiff.

                                          DAMAGES

        18.   That     the    foregoing      paragraphs        are   re-alleged       as    if   •

fully set forth herein verbatim.

        19.   That     as     a     direct      and    proximate       result      of      the

negligence,      willfulness,         wantonness       and    recklessness and          gross

negligence      on    the    part    of   the    Defendants,         the   Plaintiff       was

greatly and severely injured in and about her head, neck, arms,

body, shoulders and back and other parts of her body; that the

Plaintiff was rendered sick, sore, disabled, bruised and shocked

thereby and continues so to be; that all of such injuries have

caused the Plaintiff extreme and excruciating pain continuously

to    this    date    and    the    Plaintiff    will     suffer     such   pain     in    the

future; that as a direct and proximate result of the negligence

as    aforementioned,         the    Plaintiff        suffered 'severe       bruises       and

contusions to her head, and great pain and suffering.

        20.   That      as    a     direct    and      proximate      result     of       said

negligence,          willfulness,      wantonness,           recklessness      and      gross

negligence on the part of the Defendants:

        (a) The Plaintiff was confined to the care and
        treatment of skilled practitioners of the healing arts
        and nurses;

        (b) The Plaintiff is presently being treated by such
        persons and will continue to receive treatment from
        them in the future;
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       (c) The Plaintiff has expended large sums of money
       for such treatment and will be obligated to expend
       even more money in the future for such care and
       treatment;

       (d) The Plaintiff was hindered and prevented and in
       the  future   will   be hindered  and  prevented  from
       transacting 4nd attending to the Plaintiff's necessary
       and   lawful    affairs  since   the   date   of   the
       incident/accident and lost and was deprived of gains,
       profits, salaries, pleasures, advantages and earning
       capacity and ability which the Plaintiff would have
       otherwise derived and acquired had it not been for the
       incident/accident;

       (e) The Plaintiff was in the past, at present                         and
       will in the future, to be put to great expense                        for
       medicine, drugs and medical attention;

       (f) The Plaintiff suffered and              continues       to    suffer
       loss of enjoyment of life; and

       (g) The Plaintiff has expended large sums of money in
       the past and present for transportation to and from
       the doctor's office and will continue to have such
       expenses in the future and has been permanently
       impaired as a result of the accident.

       21.   That as a direct and proximate result of the foregoing

acts   and/or   omissions      by the      Defendants    herein,    the     Plaintiff

has suffered actual damages and is demanding a judgment against

the Defendants, in a sum sufficient to compensate her for those

damages.

       22.   That the Plaintiff is informed and believes that she

is also      entitled    to   an   award   of punitive damages           against the

Defendants      as   a   result     of     Defendants'    gross     and      reckless

conduct.
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    WHEREFORE,    the   Plaintiff,    having    set   forth    her   Complaint

against the Wal-Mart Defendants, would respectfully pray for an

Order as follows:

     1.   Rendering judgment in favor of               the Plaintiff and
          against the Wal-Mart Defendants              on the causes of
          action asserted herein;

     2.   Awarding actual damages, consequential damages and
          punitive damages in an amount the trier of fact
          determines appropriate;

     3.   Awarding the     Plaintiff her       reasonable     costs for this
          action; and

     4.   Granting such other and further relief as this Court
          may deem just and proper.


                                   BARTH, BALLENGER & LEWIS, LLP

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Florence, South Carolina

August 24, 2021
